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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                   Plaintiff,                 )            8:07CR30
                                              )
      vs.                                     )            ORDER
                                              )
THIRUGNANAM RAMANATHAN,                       )
                                              )
                   Defendant.                 )



      This matter is before the court on the motion of defendant Thirugnanam
Ramanathan (Ramanathan) to file pretrial motions out of time (Filing No. 55). For good
cause shown, Ramanathan’s motion (Filing No. 55) is granted. Ramanathan may file
pretrial motions in accordance with the progression order (Filing No. 31) on or before
November 19, 2007.


      IT IS SO ORDERED.
      DATED this 24th day of October, 2007.
                                              BY THE COURT:
                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
